USCA Case #25-1080       Document #2125173          Filed: 07/14/2025   Page 1 of 3



                 ORAL ARGUMENT NOT YET SCHEDULED

               UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT



Western States Petroleum Association,
                                               No. 25-1080
                    Petitioner,

       v.

U.S. Environmental Protection Agency,

                    Respondent.


                 EPA’s Unopposed Motion to Extend Abeyance
      As ordered by the Court on May 15, 2025, EPA files this motion to govern.

The agency requests an extension of abeyance for 45 days. Petitioner supports

EPA’s motion, and Intervenor California takes no position.

      Petitioner challenges EPA’s action, “California State Nonroad Engine

Pollution Control Standards: Ocean-Going Vessels At-Berth; Notice of Decision,”

88 Fed. Reg. 72461 (Oct. 20. 2023). On April 14, 2025, EPA moved to hold the

case in abeyance to allow new leadership to review the challenged action or,

alternatively, to dismiss the case as untimely. On the same day, California also

moved to dismiss. Those motions were fully briefed by May. Shortly afterward,



                                         1
USCA Case #25-1080       Document #2125173           Filed: 07/14/2025    Page 2 of 3



the Court placed the case in abeyance with motions to govern due within 60 days

of that order. Order (May 15, 2025).

      EPA’s new leadership needs additional time to receive briefing on the

underlying action and consider next steps. That review could result in further

agency action that may resolve some or all the issues here. Courts “routinely stay

[their] hand when parties identify developments that are likely to render judicial

resolution unnecessary.” Ctr. for Biological Diversity v. EPA, 56 F.4th 55, 71

(D.C. Cir. 2022). Doing so is within the Court’s “broad discretion to stay

proceedings as an incident to its power to control its own docket.” Clinton v.

Jones, 520 U.S. 681, 706 (1997); see also Landis v. N. Am. Co., 299 U.S. 248, 254

(1936).

      The Court should thus continue to hold this case in abeyance for another 45

days, with a motion to govern due at the end of that period.

Submitted on July 14, 2025.
                                                   /s/ Sue Chen
                                              Sue Chen
                                              U.S. Department of Justice
                                              Environment & Natural Resources
                                              Division
                                              Environmental Defense Section
                                              P.O. Box 7611
                                              Washington, D.C. 20044
                                              Tel: (202) 305-0283
                                              Sue.Chen@usdoj.gov




                                          2
USCA Case #25-1080       Document #2125173            Filed: 07/14/2025    Page 3 of 3




                     Certificates of Service and Compliance

      I certify that this filing complies with Fed. R. App. P. 27(d)(1)(E) because it

uses 14-point Times New Roman, a proportionally spaced font.

      I also certify that this motion complies with Fed. R. App. P. 27(d)(2)(A),

because by Microsoft Word’s count, it has 261 words, excluding the parts

exempted under Fed. R. App. P. 32(f).

      Finally, I certify that on July 14, 2025, I filed the foregoing with the Court’s

CMS/ECF system, which will notify each represented party.

                                                  /s/ Sue Chen
                                              Sue Chen




                                          3
